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                    POLICE ACCOUNTABILITY, RASHIDAH
                8   GRINAGE, SAIED KARAMOOZ, ANNE JANKS
                    AND JOHN JONES, III
                9
               10                                 UNITED STATES DISTRICT COURT
               11                                NORTHERN DISTRICT OF CALIFORNIA
               12
               13
               14
                    DELPHINE ALLEN, et al.,                     )   CASE NO. C00-cv-04599-WHO
               15                                               )
                                   Plaintiffs,                  )   DECLARATION OF JOHN JONES, III IN
               16                                               )   SUPPORT OF THE INTERVENORS’
                    v.                                          )   MOTION TO INTERVENE AS OF RIGHT, OR
               17                                               )   IN THE ALTERNATIVE, PERMISSIVE
                    CITY OF OAKLAND, et al.,                    )   INTERVENTION
               18                                               )
                                   Defendants.                  )   DATE:         MAY 8, 2019
               19                                               )   TIME:         2:00 P.M.
                                                                    DEPT:         2, 17TH FLOOR
               20
               21           I, JOHN JONES, III, hereby declare:

               22           1.     I make this Declaration on personal knowledge in support of the Coalition for Police

               23   Accountability and other community representatives’ Motion to intervene in this action. I am a
               24   member of the Coalition for Police Accountability.
               25           2.     I am a resident of Oakland, California, born and raised here. I am a third generation
               26   Oaklander, a father of three, and was formerly incarcerated for 14 years in the California Youth
               27   Authority and state prison. I serve and give back to our community as a staunch advocate for
               28   criminal justice reform, housing, employment, public safety, and the human rights of all.

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                1          3.       I am currently employed as the Director of Community and Political Engagement at

                2   the Oakland-based Dellums Institute for Social Justice. I am also a member of the Board of State

                3   and Community Corrections (BSCC) Proposition 47 Executive Steering Committee, as well as a

                4   Board Member for Planting Justice and Together We Stand. I was a leading organizer of the

                5   Oakland Justice Reinvestment Coalition and formerly employed as an organizer with Communities

                6   United for Restorative Youth Justice (CURYJ) in Oakland.

                7          4.       As a resident of Oakland, I am very concerned about lawless police misconduct,

                8   particularly when it results in physical harm or death to persons present in our City. I have

                9   personally experienced the horrors of the abuse of power of the Oakland Police Department. Two
               10   of my childhood friends were murdered by OPD officers as teens- one in 1989 and the other in
               11   1992. I have also experienced personally abuse at the hands of OPD officers, the first incident I
               12   was only 12 years old when I was slammed against a wall and called a “n-gger”.
               13          5.       I am very concerned about unconstitutional misconduct by our police, including the
               14   use of excessive force, racial profiling, perjury and the obstruction of justice. I am acutely aware
               15   that I risk the violation of my constitutional rights anytime I encounter an OPD officer. Other
               16   members of my immediate family live in Oakland. They too are at risk of death or injury at the
               17   hands of OPD.
               18          6.       I currently live in East Oakland and grew up on 92nd Avenue, a neighborhood that is
               19   often subjected to intense and armed law enforcement operations. I frequently observe police
               20   activity in my neighborhood, police vehicles speeding and driving recklessly in the streets, and
               21   racially profiling drivers and pedestrians alike- often at gunpoint.
               22          7.       I believe that I am a suitable intervenor who will represent and advocate for the
               23   interests of the residents of the City of Oakland. I believe that community involvement at this stage
               24
                    of the NSA will expedite the transformation of our police department and dramatically improve
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                    community-police relations. I believe that community representation is essential to address the
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                    impact that the NSA is having on our community. I regularly attend the meetings of the Oakland
               27
                    Police Commission.
               28

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                1          8.       I participated in the community movement to pass Measure LL, the enabling

                2   legislation to create an independent police commission in Oakland. It was clear that the City’s

                3   Administration was unable to manage its police department and that a change in the City Charter

                4   would be required to shift that responsibility to an independent civilian oversight body. Measure

                5   LL passed overwhelmingly in November 2016 with 83% of the ballots cast in its favor.

                6          9.       I served as the Vice Chair of the Selection Panel for the Commissioners to serve on

                7   the Police Commission authorized by Measure LL. The process took several months. We received

                8   more than 150 applicants and we interviewed collectively more than 140 candidates. In addition,

                9   we conducted outreach to the community about the process and the possibility of real police reform.
               10           10.     Unlike most DOJ consent decrees (including Maricopa County where Mr. Warshaw
               11   and Mr. Chanin are both monitors), the NSA lacks any provision for community involvement or
               12   engagement in the implementation of the mandated reforms. I believe this is one of the reasons why
               13   compliance has been delayed for so many years.
               14           11.     As a result of what I have learned about the Oakland Police Department, I am not
               15   surprised that, after agreeing to complete the set of reforms contained in the NSA within five years
               16   (which would be 2008), the Department remains out of compliance with the most central reforms
               17   that deal with the use of force, filing false reports, flawed investigations and racial profiling after 16
               18   years. Due to failed leadership, the Department seems to be incapable of learning from their past
               19   mistakes. For example, in 2015, OPD officers killed Demouria Hogg while he was asleep in his
               20   vehicle on Lakeshore Avenue. Not having learned from that experience, they failed to preserve the
               21   life of Joshua Pawlik in 2018 who was asleep only minutes before OPD fired a barrage of bullets
               22   into his still prone body.
               23           12.     I was shocked and stunned by the killing in North Oakland of Joshua Pawlik in
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                    March 2018. In March 2019, I learned of the circumstances under which Mr. Pawlik died. When I
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                    learned of the deeply flawed OPD investigation and Chief Anne Kirkpatrick’s disciplinary actions, I
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                    was extremely upset and ashamed and felt compelled to intervene in this lawsuit. Prior to the
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                    release of the documents about the death of Joshua Pawlik, I was not aware how little regard Chief
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                1   Kirkpatrick has for the rights and safety of the residents of Oakland.

                2          13.      I fully support the request by the Coalition for Police Accountability for the

                3   Court-appointed Monitor Robert Warshaw to terminate Chief Anne Kirkpatrick. I agree with Mr.

                4   Warshaw’s assessment that Chief Kirkpatrick’s analysis of the use of force that resulted in the death

                5   of Joshua Pawlik is “disappointing and myopic” As a resident of Oakland, I should not be forced to

                6   live with a police department under the failed leadership of Chief Kirkpatrick.

                7           14.     None of the parties to this action are taking the appropriate steps to reduce the

                8   amount of money that the City is paying for the enforcement of the NSA. None of the parties to the

                9   litigation have been able to effectively curtail the use of excessive force by OPD or the amount of
               10   racial profiling that occurs every day in our City. The glaring deficiencies in OPD’s investigation of
               11   police misconduct continue to cost the City millions of dollars.
               12           15.     None of the parties to the litigation has called upon the Monitor to terminate Chief
               13   Kirkpatrick. They also are not taking any steps to empower and engage the Oakland Police
               14   Commission to achieve sustainable oversight after the NSA finally ends. On the contrary, it is my
               15   observation that the City administration seems committed to thwarting the entire operation of the
               16   Police Commission.
               17           16.     At the time that I agreed to serve as an Intervenor in this action, Attorney Pamela Y.
               18   Price explained to me what my duties and responsibilities will be if I am permitted to represent my
               19   community in this way. If our motion is granted and I am allowed to intervene in the action, I will
               20   fairly and adequately represent the interests of the residents of the City of Oakland throughout the
               21   course of the litigation to the best of my ability.
               22           I declare under penalty of perjury under the laws of the State of California and the United
               23   States that the foregoing is true and correct. If called as a witness, I could and would testify
               24
                    competently to the matters stated in this Declaration.
               25
                            Executed in Oakland, California on April 1, 2019.
               26
               27                                         /s/ John Jones III
                                                            JOHN JONES III, Declarant
               28

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